              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:21-cr-00024-MR-WCM


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                         ORDER
                                )
ANDREW PATRICK JONES,           )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 17].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 17] is GRANTED, and the Bill of Indictment in the above-

captioned case only, is hereby DISMISSED WITHOUT PREJUDICE.

     IT IS SO ORDERED.
                               Signed: November 5, 2021




     Case 1:21-cr-00024-MR-WCM Document 18 Filed 11/05/21 Page 1 of 1
